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                            EXHIBIT G
                                     to
                     PLAINTIFF’S OPPOSITION TO
   THE UVA DEFENDANTS’ MOTION FOR PROTECTIVE ORDER
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                                      IN THE UNITED STATES DISTRICT COURT FOR
                                          THE WESTERN DISTRICT OF VIRGINIA
                                             CHARLOTTESVILLE DIVISION


                  KIERAN RAVI BHATTACHARYA,                                )
                                                                           )
                                       Plaintiff,                          )
                  v.                                                       )         Civil Action No.
                                                                           )    3:19-CV-00054-NRM-JCH
                  JAMES B. MURRAY JR., et al.,                             )
                                                                           )
                                        Defendants.                        )
                                                                           )

                                MR. BHATTACHARYA’S FOURTH DISCOVERY REQUESTS

                           Pursuant to Federal Rules of Civil Procedure 26, 33, 34, and 36, Plaintiff Kieran Ravi

                Bhattacharya hereby requests that Defendants, within thirty (30) days of service or such other time

                period as ordered by the Court and in accordance with the definitions and instructions below:

                           1.     respond to the following requests for documents (“Mr. Bhattacharya’s Fourth

                Document Requests”) by producing and permitting Mr. Bhattacharya, including his attorneys and

                agents, to inspect and copy responsive documents at the offices of Foley & Lardner LLP,

                Washington Harbour, 3000 K Street, N.W., Suite 600, Washington, D.C. 20007;

                           2.     admit the truth of Mr. Bhattacharya’s First Requests for Admissions with respect

                to documents responsive to Mr. Bhattacharya’s Fourth Document Requests;

                           3.     admit the truth of the following requests for admission (“Mr. Bhattacharya’s Third

                RFAs”);

                           4.     answer fully and separately, in writing and under oath, Mr. Bhattacharya’s First

                Interrogatories with respect to documents responsive to Mr. Bhattacharya’s Third Document

                Requests; and




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                           5.     answer fully and separately, in writing and under oath, the following interrogatories

                (“Mr. Bhattacharya’s Second Interrogatories”).

                                                            DEFINITIONS

                           For the purposes of Defendants’ answers to Mr. Bhattacharya’s Third Discovery Requests,

                the following definitions shall apply:

                           1.     “Document(s)” means any and all documents, tangible things, and writings of any

                kind as defined in Rule 34 of the Federal Rules of Civil Procedure and Rule 1001 of the Federal

                Rules of Evidence, including the originals and all non-identical copies, whether different from the

                originals by reason of any notation made on such copies or otherwise, and includes, without

                limitation, agreements, purchase orders, invoices, receipts, accounting records, contracts, bills of

                lading, shipping records, correspondence, memoranda, notes, diaries, statistics, letters, telegrams,

                telex, faxes, minutes, contracts, reports, studies, statements, summaries, interoffice and intra-office

                Communications, notations of any sort of conversations, telephone calls, meetings or other

                Communications, computer printouts, tape recordings, audiotapes, videotapes, charts, graphs, and

                electronic, mechanical or electronic records, compact discs, computer discs, computer tapes,

                computer software, electronically stored media, and any other form of stored information.

                           2.     “Communication(s)” means any contact or exchange of information between two

                or more Persons, including, without limitation, by such means as electronic mail, letters,

                memoranda, reports, computer transmissions, text messages, instant messages, telegrams, telexes,

                and fax messages including all attachments to or enclosures therewith, and including transcriptions

                or summaries of conversations, voicemail messages or interviews.

                           3.     “Relating to” or “relate(s) to” are used in their broadest sense and means referring

                to, describing, evidencing, containing, supporting, rebutting, reflecting, refuting, negating,


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                pertaining to, comprising, memorializing, identifying, verifying, and/or in any way involving or

                having a logical connection to the subject matter of the request, in whole or in part.

                           4.   “Identify” (with respect to Communications). When referring to Communications,

                “identify” means to state, to the extent known, the (i) name(s), address(es), and last known place(s)

                of employment of the parties to the Communication; (ii) the subject matter of the Communication;

                (iii) the location(s) of the Communication; (iv) the mode of Communication, (e.g., written, by

                telephone, meeting, etc.); and (v) the date of the Communication.

                           5.   “Identify” (with respect to Documents). When referring to Documents, “identify”

                means to state, to the extent known or reasonably ascertainable, the (i) type of Document; (ii) its

                general subject matter; (iii) the date of the Document; and (iv) its author(s), addressee(s), and

                recipient(s). If the foregoing information is not available, state whether it is (i) missing or lost, (ii)

                destroyed, (iii) transferred, voluntarily or involuntarily, to others, or (iv) otherwise disposed of

                and, in each instance, explain the circumstances surrounding the authorization for such disposition

                thereof and state the date or approximate date thereof.

                           6.   “Identify” (with respect to Persons). When referring to a person, “identify” means

                to state, to the extent known or reasonably ascertainable, the person’s full name and current or last

                known address. When referring to a natural person, “identify” means, additionally, to provide the

                individual’s present or last known place of employment. Once a person has been identified in

                accordance with the foregoing definition, only the name of that person need be listed in response

                to subsequent discovery requests calling for the identification of such person.

                           7.   “Person(s)” means any natural person, firm, association, organization, partnership,

                business, trust, corporation, or entity.




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                           8.    “You” or “Your” refers to each of Defendants—the University Defendants, the

                UVA Med School Defendants, and the Individual Co-Conspirators—as those terms are defined

                herein.

                           9.    “Mr. Bhattacharya” refers to Plaintiff Kieran Ravi Bhattacharya.

                           10.   “Rector” refers to James B. Murray Jr., Rector of the Board of Visitors of the

                University of Virginia.

                           11.   “Vice Rector” refers to Whittington W. Clement, Vice Rector of the Board of

                Visitors of the University of Virginia.

                           12.   “UVA Med School” refers to the University of Virginia School of Medicine.

                           13.   “Members of the Board of Visitors of the University of Virginia” refers to Robert

                M. Blue; Mark T. Bowles; L.D. Britt, M.D., M.P.H.; Frank M. Conner III; Elizabeth M. Cranwell;

                Thomas A. Depasquale; Barbara J. Fried; John A. Griffin; Louis S. Haddad; Robert D. Hardie;

                Maurice A. Jones; Babur B. Lateef, M.D.; Angela Hucles Mangano; C. Evans Poston Jr.; James

                V. Reyes; and Peter C. Brunjes.

                           14.   “Ms. Fielding” refers to Melissa Fielding, Deputy Chief of Police of the University

                of Virginia.

                           15.   “Mr. Longo” refers to Timothy Longo, Sr., Interim Chief of Police of the University

                of Virginia.

                           16.   “Ms. Graham” means Gloria Graham, Esq., Former Associate Vice President,

                Safety and Security, of the University of Virginia.

                           17.   “University Defendants” refers to the Rector, Vice Rector, Members of the Board

                of Visitors of the University of Virginia, Mr. Longo, and Ms. Fielding.




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                           18.   “Dean Densmore” refers to John J. Densmore, M.D., Ph.D., Associate Dean for

                Admissions and Student Affairs, University of Virginia School of Medicine.

                           19.   “Dr. Tucker” refers to Jim B. Tucker, M.D., Chair of the Academic Standards and

                Achievement Committee, University of Virginia School of Medicine.

                           20.   “UVA Med School Defendants” refers to Dean Densmore and Dr. Tucker.

                           21.   “Dean Peterson” refers to Christine Peterson, M.D., Assistant Dean for Medical

                Education, University of Virginia School of Medicine.

                           22.   “Professor Kern” refers to Nora Kern, M.D., Assistant Professor of Urology,

                University of Virginia School of Medicine.

                           23.   “Professor Rasmussen” refers to Sara K. Rasmussen, M.D., Ph.D., Associate

                Professor, University of Virginia School of Medicine.

                           24.   “Individual Co-Conspirators” refers to Dean Peterson, Professor Kern, and

                Professor Rasmussen collectively.

                           25.   “Sean Reed” means Sean W. Reed, M.D., Associate Professor of the University of

                Virginia School of Medicine.

                           26.   “Dean Canterbury” means Randolph J. Canterbury, M.D., Senior Associate Dean

                for Education at UVA Med School.

                           27.   “Panel Discussion” refers to the October 25, 2018 panel discussion on

                “microaggression” sponsored by the newly formed UVA Med School chapter of the American

                Medical Women’s Association.

                           28.   “Defendants” refer to the University Defendants, the UVA Med School

                Defendants, and the Individual Co-Conspirators collectively.




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                           29.   “ASAC” or the “Committee” refers to UVA Med School’s Academic Standards

                and Achievement Committee.

                           30.   “Policy” means UVA Med School’s Policy on Academic and Professional

                Enhancement.

                           31.   “Professionalism Concern Card” has the meaning set forth in the Policy.

                           32.   The “First Professionalism Concern Card” means the May 4, 2018 10:52 a.m.

                Professionalism Concern Card against Mr. Bhattacharya attached as Exhibit 10 to the First

                Amended Complaint.

                           33.   The “Second Professionalism Concern Card” means the October 25, 2018 9:04 p.m.

                Professionalism Concern Card against Mr. Bhattacharya attached as Exhibit 13 to the First

                Amended Complaint.

                           34.   “Dr. Hsu” means Angel Hsu, M.D., formerly a student at UVA Med School.

                           35.   “Person(s)” means any natural person, firm, association, organization, partnership,

                business, trust, corporation, or entity.

                           36.   “You” or “Your” refers to each of Defendants—the University Defendants, the

                UVA Med School Defendants, and the Individual Co-Conspirators—as those terms are defined

                herein.




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                                                         INSTRUCTIONS

                           1.    Mr. Bhattacharya’s Fourth Discovery Requests shall be deemed to seek responses

                as of the date hereof and shall also be deemed to be continuing pursuant to Rule 26(e) of the

                Federal Rules of Civil Procedure so as to require further and supplemental responses such that if

                additional information relating in any way to Mr. Bhattacharya’s Fourth Discovery Requests

                becomes known to You that in any way modifies Your responses to Mr. Bhattacharya’s Fourth

                Discovery Requests up to and including the time of trial, You shall immediately furnish to

                Bhattacharya Your revised responses incorporating all such modification(s).

                           2.    If Defendants claim that any one of Mr. Bhattacharya’s Fourth Discovery Requests

                is overly broad, unduly burdensome, irrelevant, or otherwise objectionable, You must specifically

                state the nature of Your objection and all grounds therefor. You must respond to that portion of

                the discovery request which is unobjectionable and specifically identify the respect in which the

                discovery request is allegedly overly broad, unduly burdensome, irrelevant, or otherwise

                objectionable.

                           3.    When any copy of any Document responsive to Mr. Bhattacharya’s Fourth

                Discovery Requests is not identical to the original or any copy thereof by reason of any notes,

                comments, markings, alterations, or material contained thereon, deleted therefrom, or attached

                thereto, or otherwise, all such non-identical copies shall also be produced.

                           4.    Documents shall be produced in all respects as they are maintained in the ordinary

                course of business, including file folders or other identifying information, and identified or

                segregated to correspond to the particular numbered request to which they are considered

                responsive.




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                           5.   If any Document or information is withheld on the basis of a claim of privilege or

                immunity, within the time required by Rule 26(C), with respect to each such Document,

                communication, or other information, state (i) the date of the Document or Communication for

                which privilege or immunity is claimed, (ii) the author(s) and recipient(s) of the Document or the

                parties to the Communication for which privilege or immunity is claimed, (iii) the nature of the

                claimed privilege or immunity, (iv) the nature of the information for which privilege or immunity

                is claimed, and (v) the specific number(s) of Mr. Bhattacharya’s Fourth Discovery Requests to

                which the document is responsive.

                           6.   If any Document the production or identification of which is required by

                Bhattacharya’s Fourth Discovery Requests has been destroyed, discarded, or lost, or is no longer

                in existence or within Your possession, custody, or control, provide the following information: (i)

                the date of the Document (or if the precise date is not known or ascertainable, the best

                approximation thereof); (ii) its title; (iii) the name and position of each Person who prepared or

                assisted in preparing the Document; (iv) the name and position of each Person to whom the

                Document was addressed or who has seen, has had possession or custody of, or has received

                disclosure of the contents of the Document or any copy thereof; (v) the subject matter of the

                Document; the (vi) specific number(s) of Mr. Bhattacharya’s Fourth Discovery Requests to which

                the Document would have been responsive; (vii) the date it was destroyed, discarded, or lost or

                when it otherwise left Your possession, custody, or control; (viii) the method of and reason for its

                destruction, discard, or loss, if any; (ix) the identity of the Document’s last custodian and of each

                person responsible for the Document’s destruction, discard, or loss, if any; and (x) the identity of

                any person whom you reasonably believe has, had, or may have present possession, custody, or

                control of the Document.


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                           7.     Unless otherwise specified, the “Relevant Time Period” for Mr. Bhattacharya’s

                Fourth Discovery Requests is August 4, 2016 through February 3, 2020.


                                                 REQUESTS FOR PRODUCTION

                Document Request No. 75:

                           Full, unredacted copies of all forms of government or employee IDs from October 25, 2018

                to present for all individual and official capacity defendants other than those who are members of

                the Rector and Board of Visitors.

                Document Request No. 76:

                           The complete medical student files for all individuals identified in response to

                Interrogatory No. 4.

                Document Request No. 77:

                           The complete medical student files for all individuals identified in response to

                Interrogatory No. 5.

                Document Request No. 78:

                           The complete medical student files for all individuals identified in response to

                Interrogatory No. 6.

                Document Request No. 79:

                           The complete medical student files for all individuals identified in response to

                Interrogatory No. 7.

                Document Request No. 80:

                           The complete medical student files for all individuals identified in response to

                Interrogatory No. 8.




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                Document Request No. 81:

                           Written Communications and records of phone calls in which Christine Peterson discussed

                the subject matter of this case using Skype.

                Document Request No. 82:

                           Written Communications and identification of students with whom Meg Keeley made

                unauthorized disclosures of Mr. Bhattacharya’s personal medical information. (Bates No.

                UVA00001703)

                Document Request No. 83:

                           Communications between Angel Hsu and Christine Peterson related to Angel Hsu’s

                January 16, 2017 meeting in which they discussed Mr. Bhattacharya. (Bates No. UVA00001703)

                DocumeNt Request No. 84:

                           Text message from Angel Hsu to Dean Peterson February 2, 2017 (Bates No. UVA:




                           Peterson: Angel Hsu “texted me on [Thursday, February 2, 2017] that he was “doing

                much better”…” as well as entire text message communications from January and February 2017.

                Document Request No. 85:

                           Written Communications and records of phone calls in which John Densmore discussed

                the subject matter of this case using Skype.

                Document Request No. 86:

                           Written Communications and records of phone calls in which Sean Reed discussed the

                subject matter of this case using Skype.

                Document Request No. 87:

                           Written communications and records of phone calls in which Meg Keeley discussed the
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                subject matter of this case using Skype.




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                Document Request No. 88:

                           The complete medical student files of “the two other medical students appealing ASAC

                decisions.” (Bates No. UVA00003034)

                Document Request No. 89:

                           Bodycam footage of “Police at bedside” UVA Medical Center ED Room 26 at 19:47:14

                on November 19, 2018. (UVA HS00003737)

                Document Request No. 90:

                           Bodycam footage of urine extraction of Mr. Bhattacharya at 17:01:01 on November 19,

                2018. (UVA HS00003734)

                Document Request No. 91:

                           Bodycam footage of blood extraction of Mr. Bhattacharya between 17:00 and 17:19 on

                November 19, 2018. (UVA HS00003734-35)

                Document Request No. 92:

                           Bodycam footage of police at bedside at 22:00 on November 19, 2018.             (UVA

                HS00003738)

                Document Request No. 93:

                           With respect to each of Defendants’ “hybrid” expert witnesses, all Documents and

                Communications since October 25, 2018 through the date of trial that any of them had or hereafter

                will have with You or Your counsel, counsel for anyone else, Your consultants, or anyone else

                that such “hybrid” experts considered, used, generated, saw, read, reviewed, and/or considered in

                forming the opinions set forth in Defendants’ Rule 26(a)(2)(C) expert witness disclosures or about

                which each anticipates providing testimony.



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                Document Request No. 94:

                           Laurie Casteen’s Documents and Communications regarding Mr. Bhattacharya’s phone

                call to Tabitha Enoch on November 18, 2018. (Dkt. #285-1 at 8.)

                Document Request No. 95:

                           All Documents and Communications identifying the public settings referenced by Dr.

                Tucker in the November 29, 2018 ASAC letter. (Dkt. #285-1 at 11.)

                Document Request No. 96:

                           All Documents and Communications identifying by photograph and name all employees

                of the Claude Moore Health Sciences Library who were present on November 18, 2018. (Dkt.

                #285-1 at 11.)

                Document Request No. 97:

                           All Documents and Communications regarding telephone calls between Mr. Bhattacharya

                and Angel Hsu between November 19, 2018 and November 26, 2018. (Dkt. #285-1 at 12-13.)

                Document Request No. 98:

                           All Documents and Communications regarding voicemail messages between Lynne

                Fleming and Dean Thomas on November 28, 2018. (Dkt. #285-1 at 13.)

                Document Request No. 99:

                           All Documents and Communications reflecting efforts by any employee or agent of UVA

                to access or otherwise preserve Charlottesville or UVA PD bodycam footage of Mr. Bhattacharya,

                Roxanne Bhattacharya, Angel Hsu, or any police interaction at 820B Cabell Avenue on November

                18 and 19, 2018. (Dkt. #285-1 at 8.)

                Document Request No. 100:

                           All documents and communications related to Dean Thomas’s communications with

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                ASAC members to get a quorum for the November 28, 2018 ASAC hearing. (Dkt. #285-1 at 13.)

                Document Request No. 101:

                           All Documents and Communications regarding Angel Hsu’s counseling, psychological, or

                psychiatric care. (Dkt. #285-1 at 13.)

                Document Request No. 102:

                           All Documents and Communications reflecting UVA School of Medicine’s Dean on Call

                Schedule in October, November, and December 2018. (Dkt. #285-1 at 13.)

                Document Request No. 103:

                           All Documents and Communications regarding Shelly Savage Gibson’s November 14,

                2018 report. (Dkt. #285-1 at 14.)

                Document Request No. 104:

                           All Documents and Communications regarding Dean Peterson and “involved parties” for

                the Angel Hsu protective order hearing on December 13, 2019. (Dkt. #285-1 at 13.)

                Document Request No. 105:

                           All Documents and Communications reflecting the total number of individual patients who

                were admitted, discharged, or on the ward of 5 East each day between November 13, 2018 and

                November 27, 2018. (Dkt. #285-1 at 19.)

                Document Request No. 106:

                           All Documents and Communications regarding the identity of the magistrate who denied

                the ex parte emergency protective order that Angel Hsu sought on November 23, 2018. (Dkt.

                #285-1 at 19-20.)

                Document Request No. 107:

                           All Documents and Communications regarding the entire November 6, 2018 OSCE score


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                report. (Dkt. #285-1 at 20.)

                Document Request No. 108:

                           All Documents and Communications in Your possession, custody, and control

                demonstrating the existence of the protective order that was filed by Angel Hsu before Roxanne

                Bhattacharya initiated the ECO at 11:41 a.m. on November 19, 2018. (Dkt. #285-1 at 20.)

                Document Request No. 109:

                           All Documents and Communications by text messages related to this case or its subject

                matter from custodians identified in Interrogatory No. 9.

                Document Request No. 110:

                           All Documents and Communications by “direct” messages, text messages, or posts related

                to this case or its subject matter from custodians identified in Interrogatory Nos. 9 and 11.

                                                       INTERROGATORIES

                Interrogatory No. 2:

                           Identify who decided and participated in the decision to issue a No Trespass Order (NTO)

                against Mr. Bhattacharya on January 3, 2019, why the NTO was issued, when the decision was

                made, and why no written explanation as to the grounds for issuing the NTO was provided on or

                with the NTO.

                Interrogatory No. 3:

                           Describe in detail the “comments” and the “chat room” referenced by Melissa Fielding in

                which some unspecified individual or individuals “perceived” the “comments” to be “threats” and

                explain why Melissa Fielding provided this explanation to Mr. Bhattacharya on July 18, 2019 and

                not on January 3, 2019.




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                Interrogatory No. 4:

                           Identify all previously enrolled medical students at UVA from November 14, 2008 to

                November 14, 2018 who were suspended for at least one year or expelled by ASAC for

                “professionalism” reasons.

                Interrogatory No. 5:

                           Identify all previously enrolled medical students at UVA from November 14, 2008 to

                November 14, 2018 who pled guilty, pled no contest, or were found guilty of any misdemeanor or

                felony while enrolled as a medical student and of which UVA SOM had knowledge at the time of

                enrollment.

                Interrogatory No. 6:

                           Identify all previously enrolled medical students at UVA from November 14, 2008 to

                November 14, 2018 who were found responsible for Title IX prohibited conduct, including sexual

                harassment, sexual assault, dating violence, domestic violence, stalking, or retaliation against

                another medical student and received a no-contact directive, probation, suspension, and/or

                expulsion from UVA SOM.

                Interrogatory No. 7:

                           Identify all previously enrolled medical students at UVA from November 14, 2008 to

                November 14, 2018 who were subject of an issued emergency protective order (Va. Code § 19.2-

                152.8.), preliminary protective order (Va. Code § 19.2-152.10.), or final protective order (Va. Code

                § 19.2-152.10.) obtained by another medical student while both were enrolled as medical students

                and of which UVA SOM had knowledge at the time of enrollment.


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                Interrogatory No. 8:

                           Identify all previously enrolled medical students at UVA from November 14, 2008 to

                November 14, 2018 who were placed under an emergency custody order (Va. Code § 37.2-808),

                temporary detention order (Va. Code § 37.2-809), involuntary commitment order (Va. Code

                § 37.2-817) at UVA Medical Center or recommended by an employee of UVA Medical Center

                and received a mandatory outpatient treatment order (Va. Code § 37.2-817) while enrolled as a

                medical student and of which UVA SOM had knowledge of at the time of enrollment.

                Interrogatory No. 9:

                           For each of the following individuals, identify each individual’s cell phone number(s), cell

                phone type(s), cell phone make(s), and service provider for the periods from October 20, 2018

                through February 3, 2020, and identify any cell phones that were lost or destroyed.

                           a.     John Densmore
                           b.     Christine Peterson
                           c.     Nora Kern
                           d.     Randolph Canterbury
                           e.     Jim Tucker
                           f.     Lynne Fleming
                           g.     Tabitha Enoch
                           h.     Edward Markowski
                           i.     Nicole Ruzek
                           j.     Melissa Fielding
                           k.     Gloria Graham
                           l.     Tommye Sutton
                           m.     David Wilkes
                           n.     Catherine Richard
                           o.     Michael Mason
                           p.     Sara Rasmussen
                           q.     Timothy Longo
                           r.     Sean Reed
                           s.     Allen Groves
                           t.     Joanne Mendoza
                           u.     Shelly Savage Gibson
                           v.     Laurie Casteen
                           w.     Susan Davis
                           x.     Margaret Sande
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                           y.     Pamila Herrington
                           z.     Patrick Stafford
                           aa.    Lindsay Nicole Carlson
                           bb.    Margaret Sande
                           cc.    Ashima Saripalli
                           dd.    Thomas Ball
                           ee.    Katherine Murray
                           ff.    Brian Behm
                           gg.    Sharon Diamond-Myrsten
                           hh.    Nicholar Intagliata
                           ii.    Catherine Shaffrey
                           jj.    Roger Abounader
                           kk.    Stephen Culp
                           ll.    Barnett Nathan
                           mm.    Donna Chen
                           nn.    Winifred Wolfe
                           oo.    Andy Thomson
                           pp.    James Moak
                           qq.    Karen Painter
                           rr.    Patrick Stafford
                           ss.    Christopher Easton
                           tt.    Donald Harold McGee
                           uu.    Brandon Michael Smoot
                           vv.    Dreshawn Burton
                           ww.    Anthony Clarence Frazier
                           xx.    Allen Groves
                           yy.    Courtney Schempp
                           zz.    Emily Babb
                           aaa.   Lauren Miller (UVA00003791)
                           bbb.   Scott Syverud
                           ccc.   Daniel Stanley

                Interrogatory No. 10:

                           With respect to each of the following events with respect to Mr. Bhattacharya—the

                October 25, 2018 professionalism concern card, the November 15, 2018 ASAC letter, the

                November 29, 2018 suspension, and the January 3, 2019 NTO—state when Dr. Rasmussen had

                knowledge of these events, who communicated these events to her, how these communications

                were made, and if any such communications were destroyed, when and by how any of these

                communications were destroyed.



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                Interrogatory No. 11:

                           With respect to each custodian identified in Interrogatory No. 9, identify all social media

                websites or applications on which each individual has discussed the subject matter of this case or

                its subject matter since October 24, 2018.

                Interrogatory No. 12:

                           Identify with whom Tabitha Enoch directly communicated, orally or in writing, regarding

                Mr. Bhattacharya’s November 18, 2018 phone call with her before November 29, 2018, how these

                communications were made, and what exactly she communicated about the content of the

                November 18, 2018 conversation.

                Interrogatory No. 13:

                           Explain why Mr. Bhattacharya was tranquilized with an intramuscular injection of

                haloperidol, diphenhydramine, and lorazepam at UVA Medical Center on November 14, 2018 and

                November 19, 2018 and who ordered each tranquilization.

                Interrogatory No. 14:

                           Explain why Mr. Bhattacharya was provided less than four hours’ notice by email with no

                written explanation as to why ASAC was convening the November 28, 2018 ASAC hearing.

                Interrogatory No. 15:

                           Explain why no member of ASAC mentioned Angel Hsu, ASAC’s knowledge of her

                November 26, 2018 ex parte preliminary protective order, or ASAC’s knowledge of the two

                previous involuntary hospitalizations in November 2018 during the November 28, 2018 ASAC

                meeting.




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                Interrogatory No. 16:

                           Explain why Mr. Bhattacharya was transferred from UVA Medical Center to Poplar

                Springs Hospital on November 19, 2018.


                                                  REQUESTS FOR ADMISSION

                RFA No. 134:

                           Mr. Bhattacharya spoke with Tabitha Enoch by phone on November 18, 2018.

                RFA No. 135:

                           Tabitha Enoch sent an email to Mr. Bhattacharya after they spoke with each other by phone

                on November 18, 2018.

                RFA No. 136:

                           Roxanne Bhattacharya was not permitted to be in the Claude Moore Health Sciences

                Library on November 18, 2018.

                RFA No. 137:

                           Roxanne Bhattacharya was not permitted to be in the Jefferson Medical Office Building

                on November 18, 2018.

                RFA No. 138:

                           Roxanne Bhattacharya was not permitted to be inside the residence of 820B Cabell Avenue

                on November 18, 2018.

                RFA No. 139:

                           Angel Hsu allowed Roxanne Bhattacharya to be inside the Claude Moore Health Sciences

                Library on November 18, 2018.




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                RFA No. 140:

                           Nora Kern and Sara Rasmussen communicated with each other in person about Mr.

                Bhattacharya at the end of the AMWA Microaggression Panel Discussion on October 25, 2018.

                RFA No. 141:

                           Lindsay Nicole Carlson stated in Mr. Bhattacharya’s medical records that he was to be

                tranquilized on November 14, 2018 for refusing bloodwork and urine samples while under ECO.

                (Bates No. UVA HS00003796, UVA HS00003810-11)

                RFA No. 142:

                           Patrick Stafford stated in Mr. Bhattacharya’s medical records between 16:17 and 16:40 pm

                November 19, 2018 that Mr. Bhattacharya was to be tranquilized on November 19, 2018 for

                refusing bloodwork and urine samples while under ECO. (Bates No. UVA HS00003707)

                RFA No. 143:

                           Guidelines from the Virginia Department of Behavioral Health state: “Patients who have

                capacity to make informed decisions and do not consent to collection of a urine or blood specimen

                will       not   be   forced,   including   under   an   emergency custody   order   (ECO).” See

                https://dbhds.virginia.gov/assets/doc/about/masg/adults-medical-and-screening-guidelines-11-5-

                2018.pdf.

                RFA No. 144:

                           At the time Mr. Bhattacharya was tranquilized on November 14, 2018, he had the capacity

                to make informed decisions.

                RFA No. 145:

                           At the time Mr. Bhattacharya was tranquilized on November 19, 2018, he had the capacity

                to make informed decisions.
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                RFA No. 146:

                           During the course of Mr. Bhattacharya involuntary hospitalization on November 14, 2018,

                no one alleged in Mr. Bhattacharya’s medical records that he lacked the capacity to make informed

                decisions before he was tranquilized on November 14, 2018.

                RFA No. 147:

                           During the course of Mr. Bhattacharya involuntary hospitalization on November 19, 2018,

                no one alleged in Mr. Bhattacharya’s medical records that he lacked the capacity to make informed

                decisions before he was tranquilized on November 19, 2018.

                RFA No. 148:

                           Angel Hsu did not move out of 820B Cabell Avenue on November 19, 2018.

                RFA No. 149:

                           Christine Peterson did not know the location of Angel Hsu’s residence before noon on

                November 19, 2018.

                RFA No. 150:

                           Angel Hsu falsely represented in her November 26, 2018 ex parte preliminary protective

                order petition that she had not previously filed for an emergency protective order on November 23,

                2018.

                RFA No. 151:

                           Mr. Bhattacharya has never reported to anyone orally or in writing that he is or was

                experiencing auditory hallucinations.

                RFA No. 152:

                           Mr. Bhattacharya did not leave candles unattended at his residence in October or November

                2018.
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                RFA No. 153:

                           Mr. Bhattacharya did not undergo required psychological or psychiatric treatment of any

                kind while at the University of Alabama.

                RFA No. 154:

                           Mr. Bhattacharya did not frisk or attempt to frisk any roommates or any individual at UVA

                during any point in his enrollment.

                RFA No. 155:

                           Mr. Bhattacharya did not leave the stove at his residence on or use it at all during the period

                November 16-19, 2018.

                RFA No. 156:

                           Mr. Bhattacharya was in good academic standing at all points during his enrollment at

                UVA Med School before 5:00 pm on November 28, 2018.

                RFA No. 157:

                           At no point during Mr. Bhattacharya’s enrollment at UVA Med School before November

                28, 2018 did any agent or employee of UVA inform Mr. Bhattacharya that he was not in good

                academic standing.

                RFA No. 158:

                           Dr. Tucker understood that Dean Canterbury had required that Mr. Bhattacharya he

                evaluated by CAPS.

                RFA No. 159:

                           Dr. Tucker understood that there is a fundamental difference between recommending and

                requiring that one be evaluated by CAPS on November 28, 2018.


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                RFA No. 160:

                           Dean Canterbury’s statement to Jim Tucker that “[John Densmore] has to have [Mr.

                Bhattacharya] taken from [John Densmore’s] office by police a week ago” was false. (Bates No.

                UVA00002635.)

                RFA No. 161:

                           Tabitha Enoch’s November 30, 2018 statement to Angel Hsu that Mr. Bhattacharya’s

                suspension “had nothing to do with [Angel Hsu]” was false. (Bates No. UVA00002777.)

                RFA No. 162:

                           Tabitha Enoch’s November 30, 2018 statement to Angel Hsu that “ASAC didn’t have

                access to any information [Angel Hsu] shared with [Tabitha Enoch]” was false. (Bates No.

                UVA00002777.)

                RFA No. 163:

                           It was well within Mr. Bhattacharya’s right to tell Roxanne Bhattacharya to stop contacting

                him on November 16, 2018; November 17, 2018; November 18, 2018; and November 19, 2018.

                (Bates No. UVA00002777.)

                RFA No. 164:

                           It was well within Mr. Bhattacharya’s right to tell Angel Hsu to stop contacting him on

                November 17, 2018 and November 19, 2018. (Bates No. UVA00002777.)

                RFA No. 165:

                           It was well within Mr. Bhattacharya’s right to tell Roxanne Bhattacharya to leave his

                residence on November 18, 2018. (Bates No. UVA00002777.)




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                RFA No. 166:

                           It was well within Mr. Bhattacharya’s right to refuse Dean Densmore’s November 27, 2018

                psychiatric order. (Bates No. UVA00002777.)

                RFA No. 167:

                           It was well within Mr. Bhattacharya’s right to refuse Randolph Canterbury’s November

                27, 2018 psychiatric order. (Bates No. UVA00002777.)

                RFA No. 168:

                           It was well within Mr. Bhattacharya’s right to make an audio recording of the

                November 28, 2018 ASAC hearing.

                RFA No. 169:

                           It was well within Mr. Bhattacharya’s right to receive clarification from Angel Hsu as to

                the location and status of his property to which he was denied access during the period November

                19-26, 2018.

                RFA No. 170:

                           Angel Hsu did not tell Mr. Bhattacharya to stop contacting her during any of the phone

                calls that she answered from a Poplar Springs phone while Mr. Bhattacharya was at Poplar Springs

                until after she obtained the preliminary protective order on November 26, 2018.

                RFA No. 171:

                           Mr. Bhattacharya shared equal ownership of Taro between September 1, 2018 and 9:00

                a.m. on November 26, 2018.

                RFA No. 172:

                           Mr. Bhattacharya has, to this day, never agreed to waive his property stake in Taro.



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                RFA No. 173:

                           The forced hospitalizations of Mr. Bhattacharya from November 14-16, 2018 and

                November 19-26, 2018 led to “interference with [Mr. Bhattacharya’s] property.”

                RFA No. 174:

                           The University of Virginia’s “Title IX Prohibited Conduct – Stalking” states as follows:

                                  “Stalking is conduct on the basis of sex defined as engaging in a
                                  course of conduct directed at a specific person (e.g., the
                                  Complainant) that would cause a reasonable person to (A) fear for
                                  their safety or the safety of others or (B) suffer substantial
                                  emotional distress.

                                  “Course of conduct” means two or more acts, including but not
                                  limited to acts in which a person directly, indirectly, or through
                                  third parties, by any actions, method, device, or means, follows,
                                  monitors, observes, surveils, threatens, or communicates to or
                                  about another person, or interferes with another person’s property.

                                  “Substantial emotional distress” means significant mental suffering
                                  or anguish that may but does not necessarily require medical or
                                  other professional treatment or counseling.

                                  Stalking includes “cyber stalking,” a particular form of stalking in
                                  which a person uses electronic media, such as the internet, social
                                  networks, blogs, cell phones, texts, or other similar devices or
                                  forms of contact.”

                RFA No. 175:

                           No employee of UVA CAPS, UVA Medical Center, Poplar Springs, or the University of

                Alabama, or Charles Moseley has ever reported in writing that Mr. Bhattacharya informed him or

                her that Mr. Bhattacharya was experiencing auditory hallucinations.

                RFA No. 176:

                           No employee of UVA CAPS, UVA Medical Center, Poplar Springs, or the University of

                Alabama, or Charles Moseley has reported in writing that Mr. Bhattacharya informed him or her


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                that Mr. Bhattacharya was experiencing visual hallucinations.




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                RFA No. 177:

                           No employee of UVA CAPS, UVA Medical Center, Poplar Springs, or the University of

                Alabama, or Charles Moseley has reported in writing that Mr. Bhattacharya informed him or her

                that Mr. Bhattacharya was experiencing suicidal ideations.

                RFA No. 178:

                           No employee of UVA CAPS, UVA Medical Center, Poplar Springs, or the University of

                Alabama, or Charles Moseley has reported in writing that Mr. Bhattacharya informed him or her

                that Mr. Bhattacharya was experiencing homicidal ideations.

                RFA No. 179:

                           On November 20, 2018, Nicole Ruzek reported to Poplar Springs Hospital that Mr.

                Bhattacharya “has not made physical threats but threatens litigation against [Mr. Bhattacharya’s]

                Dean.” (Bates No. PSH00003661.)

                RFA No. 180:

                           Nicole Ruzek’s assertion to Poplar Springs hospital that “[Angel Hsu’s] protective order

                [would] be finalized on [November 23, 2018]” was false. (Bates No. PSH00003662.)

                RFA No. 181:

                           Nicole Ruzek contacted Poplar Springs at 12:35 p.m. on November 21, 2018 with the

                intention of influencing the outcome of the 2:30 p.m. November 21, 2018 involuntary commitment

                hearing in a manner unfavorable to Mr. Bhattacharya. (Bates No. PSH00003662, UVA00009372.)

                RFA No. 182:

                           David Brown’s “Chief Complaint” at 1:10 p.m. on November 19, 2018 that “[Roxanne

                Bhattacharya] initiated [an Emergency Custody Order] after [Angel Hsu] file a protective order”

                against Mr. Bhattacharya is false. (Bates No. UVA HS00003702.)

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                RFA No. 183:

                           Haley Bolton’s “Chief Complaint” at 1:14 p.m. on November 19, 2018 that “[Roxanne

                Bhattacharya] initiated [an Emergency Custody Order] after [Angel Hsu] file a protective order”

                against Mr. Bhattacharya is false. (Bates No. UVA HS00003702.)

                RFA No. 184:

                           Margaret Sande’s “Chief Complaint” at 1:23 p.m. on November 19, 2018 that “[Roxanne

                Bhattacharya] initiated [an Emergency Custody Order] after [Angel Hsu] file a protective order”

                against Mr. Bhattacharya is false. (Bates No. UVA HS00003702.)

                RFA No. 185:

                           Mr. Bhattacharya was not “copying large volumes of a psychiatry textbook” on

                November 18, 2018. (Bates No. UVA HS00003705.)

                RFA No. 186:

                           Margaret Sande had access to the entire written petition from Roxanne Bhattacharya and

                relied on its contents to create her “ED Provider Notes.” (Bates Nos. UVA HS00003704-05.)

                RFA No. 187:

                           Margaret Sande reported that Mr. Bhattacharya “[did] not know why he need to be” at the

                UVA Medical Center ED on November 19, 2018. (Bates No. UVA HS00003705.)

                RFA No. 188:

                           Margaret Sande’s report of Roxanne Bhattacharya’s allegation that Mr. Bhattacharya was

                “not eating” is false. (Bates No. UVA HS00003705.)




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                RFA No. 189:

                           Neither Roxanne Bhattacharya nor Angel Hsu had any personal knowledge as to whether

                or not Mr. Bhattacharya was “eating” between November 16-19, 2018. (Bates No. UVA

                HS00003705.)

                RFA No. 190:

                           Margaret Sande’s report of Roxanne Bhattacharya’s allegation that Mr. Bhattacharya was

                “not sleeping” is false. (Bates No. UVA HS00003705.)

                RFA No. 191:

                           Neither Roxanne Bhattacharya nor Angel Hsu had any personal knowledge as to whether

                or not Mr. Bhattacharya was “sleeping” between November 16-19, 2018. (Bates No. UVA

                HS00003705.)

                RFA No. 192:

                           Mr. Bhattacharya did not “leave food unattended on the stove” between November 16-19,

                2018. (Bates No. UVA HS00003705.)

                RFA No. 193:

                           Mr. Bhattacharya did not “make investment decisions that [were] out of character for him”

                in November 2018. (Bates No. UVA HS00003705.)

                RFA No. 194:

                           Winifred Wolfe’s “Violence Risk Assessment” of Mr. Bhattacharya of “moderate”

                provides no true, testable, and factual support whatsoever other than describing Mr. Bhattacharya

                as a “[m]ale.” (Bates No. UVA HS00003747.)




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                RFA No. 195:

                           Winifred Wolfe’s “Violence Risk Assessment” of Mr. Bhattacharya of “moderate” falsely

                asserts that Mr. Bhattacharya was “living alone.” (Bates No. UVA HS00003747.)

                RFA No. 196:

                           Winifred Wolfe would have had no way of personally observing and diagnosing someone

                with “current florid mania” if she was “[Unable To Assess] as [Mr. Bhattacharya] refused

                examination.” (Bates No. UVA HS00003743.)




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                Dated: March 18, 2022                Respectfully submitted,

                                                     KIERAN RAVI BHATTACHARYA

                                                     By: /s/ Michael J. Lockerby
                                                             Counsel


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                                                CERTIFICATE OF SERVICE

                           I hereby certify that a true and correct copy of MR. BHATTACHARYA’S FOURTH

                DISCOVERY REQUESTS was served on the following counsel of record, on this 18th day of

                March, 2022, via electronic mail:

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